                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                         )
 et al.,                                              )
                                                      )
                Plaintiffs and                        )
                Counterclaim Defendants,              )
                                                      )
 v.                                                   )       Case No. 4:16-cv-02163
                                                      )
 PEOPLE FOR THE ETHICAL                               )
 TREATMENT OF ANIMALS, INC., et al.,                  )
                                                      )
                Defendants and                        )
                Counterclaim Plaintiffs.              )

                 COUNTERCLAIM PLAINTIFFS’
  MOTION TO COMPEL INSPECTION, OR, IN THE ALTERNATIVE, FOR
 ENTRY OF DEFAULT AGAINST COUNTERCLAIM DEFENDANT SAWYER

       Pursuant to Rules 37 and 34(a)(2) of the Federal Rules of Civil Procedure and the Court’s

inherent authority to manage these proceedings, Counterclaim Plaintiffs People for the Ethical

Treatment of Animals, Inc. and Angela Scott a/k/a Angela G. Cagnasso (together, “Plaintiffs”)

hereby move for an order compelling Counterclaim Defendant Andrew Sawyer (“Sawyer”) to

produce the chimpanzee named Joey (“Joey”) for inspection at the location where Sawyer

presently confines Joey, to allow Plaintiffs a full and fair opportunity to discover whether Joey’s

present conditions of confinement comply with the requirements of the Endangered Species Act

(“ESA”). In support of this motion, Plaintiffs state the following:

       1.      Plaintiffs’ case against Sawyer centers around the issue of whether Joey presently

is, and in the past has been, confined under conditions that violate the ESA.

       2.      In November 2016, Sawyer received Plaintiffs’ notice of violation and intent to

file suit pursuant to Section 11(g)(2)(A)(i) of the ESA, for keeping Joey at the facilities of



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Missouri Primate Foundation (“MPF”) in conditions that violate the ESA. [ECF No. 1-1;

“Notice.”]

       3.      During the mandatory 60-day waiting period between Plaintiffs’ service of the

Notice and filing suit, Sawyer removed Joey from MPF to a secret location and preemptively

sued Plaintiffs in December 2016 for, among other things, a declaration that the manner in which

Joey was kept did not violate the ESA. [ECF No. 1.]

       4.      Subsequently, Sawyer also moved to dismiss Plaintiffs’ ESA counterclaims

against him, arguing, among other things, that those claims were moot because Joey was no

longer at MPF. [ECF No. 30, at 9.] This Court rejected the argument, noting, in part: “the

transfer does not render the case moot as it is unknown whether his current conditions are in

violation of the ESA or whether [Joey’s] transfer was merely temporary.” [ECF No. 56, at 11

(emphasis added).]

       5.      As the Court’s reasoning makes clear, Joey’s “current conditions”—wherever he

may be located—are pivotal to Plaintiffs’ claims against Sawyer. However, Sawyer has thwarted

Plaintiffs’ attempts to discover those conditions. To date, Plaintiffs have not even been able to

serve a notice pursuant to Rule 34(a)(2) upon Sawyer, requesting entry onto “designated land” to

inspect Joey, because Sawyer refused to provide the necessary address of the “designated land”

where Joey would be inspected. Sawyer’s counsel objected to providing a date or location for the

inspection on the ground that this would imperil his client’s Fifth Amendment rights.

       6.      Sawyer’s Fifth Amendment claim is, at most, speculative, and moreover belied by

Sawyer’s own conduct in seeking a declaration from this Court that the manner in which Joey is

being held does not violate the ESA.

       7.      In the event the Court nevertheless finds that the Fifth Amendment applies under



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these circumstances, the Court should use its inherent authority to protect the integrity of these

proceedings and protect Plaintiffs from the egregious prejudice caused by Sawyer’s refusal to

disclose where he has hidden Joey.

       8.      Plaintiffs’ counsel Jared Goodman and Martina Bernstein conferred by telephone

with counsel for Sawyer, Geordie Duckler, at 4:00 p.m. (PT), on June 15, 2018, to discuss

Plaintiffs’ request for a date and location for inspecting Joey pursuant to Rule 34(a)(2). Mr.

Duckler declined to provide a date or location for the inspection, stating that Sawyer invoked his

Fifth Amendment privilege. After sincere efforts to resolve their dispute, counsel were unable to

reach an accord regarding any or all of the requested relief.

       9.      By first spoliating key evidence and then asserting the Fifth Amendment privilege

to prevent Plaintiffs’ access to the evidence, Sawyer has deliberately and completely eviscerated

Plaintiffs’ ability to obtain a fair trial. The requested discovery, which Sawyer refused to allow

on Fifth Amendment grounds, is essential to Plaintiffs’ claims, and there exists no effective

substitute. If the privilege claim is upheld, the only adequate remedy is to enter a default against

Sawyer.

       WHEREFORE, Plaintiffs respectfully request that the Court enter an Order, in the form

submitted herewith, granting Plaintiffs’ motion as follows:

       OVERULLING Sawyer’s privilege claim, and ORDERING that on a date mutually

agreed upon by the parties, but in no event later than 21 days from the date of the order, Sawyer

shall produce Joey at the location where he is currently kept, and allow Plaintiffs and their

experts a full and fair opportunity to discover whether the treatment and manner of confinement

of Joey complies with the ESA.




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         GRANTING Plaintiffs an award of costs and attorneys’ fees relating to the motion to

compel, and that Plaintiffs have 14 days from the date of the order granting this motion for

sanctions to file an affidavit detailing these attorneys’ fees and costs.

         WHEREFORE, IN THE ALTERNATIVE, Plaintiffs respectfully request that, if the

privilege claim is sustained, the Court enter an order:

         ORDERING that Sawyer’s Answer to Plaintiffs’ Counterclaim [Doc. # 31] be stricken,

and default be entered in favor of Plaintiffs and against Sawyer on all claims pending before the

Court.

         ORDERING that Plaintiffs have 14 days from the date of the order granting this motion

to file a motion for entry of default judgment and proposed order concerning items (a) through

(d) of the relief sought in Counts I and II of Plaintiffs’ Counterclaim.

         ORDERING that Plaintiffs may present their claims pursuant to item (e) of the relief

sought in Counts I and II of Plaintiffs’ Counterclaim in an appropriate post-judgment motion.




Dated: June 18, 2018                           Respectfully submitted,

                                               /s/ Martina Bernstein
                                               MARTINA BERNSTEIN (#230505CA)
                                               PETA Foundation
                                               1536 16th St. NW
                                               Washington, DC 20036
                                               202.483.7382
                                               Fax No: 202.540.2208
                                               martinab@petaf.org

                                               JARED S. GOODMAN (#1011876DC)
                                               (Admitted pro hac vice)
                                               PETA Foundation
                                               2154 W. Sunset Blvd.
                                               Los Angeles, CA 90032
                                               323.210.2266
                                               Fax No: 213.484.1648

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jaredg@petaf.org

POLSINELLI PC
JAMES P. MARTIN (#50170)
KELLY J. MUENSTERMAN (#66968)
100 S. Fourth Street, Suite 1000
St. Louis, MO 63102
314.889.8000
Fax No: 314.231.1776
jmartin@polsinelli.com

Attorneys for Defendants/
Counterclaim Plaintiffs




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                               CERTIFICATE OF SERVICE

       I certify that on June 18, 2018, the foregoing Counterclaim Plaintiffs’ Motion to Compel

Inspection, Or, in The Alternative, for Entry of Default Against Counterclaim Defendant Sawyer

and Proposed Order were electronically filed with the Clerk of the Court using the CM/ECF

system, by which notification of such filing was electronically sent and served to the following:

       Brian Klar, bklar@lawsaintlouis.com
       Daniel T. Batten, dbatten@lawsaintlouis.com
       Attorneys for Plaintiff/Counterclaim Defendant Connie Braun Casey

       Geordie Duckler, geordied@animallawpractice.com
       Attorney for Plaintiff/Counterclaim Defendant Andrew Sawyer

       Patrick Hanley, p.hanley@att.net
       Attorney for Plaintiff/Counterclaim Defendant Vito Stramaeglia

       And was served by regular mail on the following:

       Missouri Primate Foundation
       c/o Connie Braun Casey
       12338 State Rd. CC
       Festus, MO 63028



                                                     /s/ Jared S. Goodman




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